                                  Case 19-11360-BLS                 Doc 1       Filed 06/18/19           Page 1 of 12


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter       7
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Advantage Business Media, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Advantage Business Marketing
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  100 Enterprise Drive, Suite 600
                                  Rockaway, NJ 07866
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Morris                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.advantagebizmarketing.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                       Case 19-11360-BLS                 Doc 1        Filed 06/18/19            Page 2 of 12
Debtor    Advantage Business Media, LLC                                                              Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above
                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?                      Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                          Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                               When                                 Case number
                                                  District                               When                                 Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                  Relationship
                                                  District                               When                             Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   Advantage Business Media, LLC                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors
                                 50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Advantage Business Media, LLC                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 17, 2019
                                                  MM / DD / YYYY


                             X /s/ Bruce Cummings                                                         Bruce Cummings
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X /s/ Shannon D. Humiston                                                     Date June 17, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Shannon D. Humiston (No. 5740)
                                 Printed name

                                 McCarter & English, LLP
                                 Firm name

                                 405 N. King Street, 8th Floor
                                 Renaissance Centre
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-984-6300                  Email address      shumiston@mccarter.com

                                 5740 DE
                                 Bar number and State




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                                                               United States Bankruptcy Court
                                                                      District of Delaware
 In re      Advantage Business Media, LLC                                                             Case No.
                                                                                Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       June 17, 2019                                           /s/ Bruce Cummings
                                                                     Bruce Cummings/Chief Executive Officer
                                                                     Signer/Title




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ADVANTAGE BUSINESS Case   19-11360-BLS
                     MEDIA, LLC   ARTHURDocPINI1 JR.Filed 06/18/19   Page CLOYD
                                                                          9 of 12 A STEIGER
100 ENTERPRISE DRIVE, SUITE 600   1623 FIDDLEWOOD COURT                  1112 SW 348TH PLACE
ROCKAWAY, NJ 07866                CASSELBERRY, FL 32707                  FEDERAL WAY, WA 98023

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SHANNON D. HUMISTON (NO. 5740)      ASA MEDIA                            CORINNE BERNSTEIN
MCCARTER & ENGLISH, LLP             4 JERSEY LANE                        98-40 64TH AVENUE
405 N. KING STREET, 8TH FLOOR       ST ALBANS                            APARTMENT 5H
RENAISSANCE CENTRE                  HERTS AL4 9AB                        REGO PARK, NY 11374-2516
WILMINGTON, DE 19801

A&P PRINTING                        ASCAP                                DATA SAFE INC.
PO BOX 4233                         21678 NETWORK PLACE                  831B ROUTE 10
CLIFTON, NJ 07012                   CHICAGO, IL 60673-1216               WHIPPANY, NJ 07981




ALEXANDER CO.                       ASSOCIATED PRESS                     DAVID DIEHL
345 W. WASHINGTON AVENUE            PO BOX 414212                        236 CLINTON STREET
MADISON, WI 53703                   BOSTON, MA 02241-4212                BROOKLYN, NY 11201




ALIX PAULTRE                        CABLEVISION                          DAVIS & GILBERT LLP
KLARENTHALER STR. 1                 PO BOX 360111                        BROOKE ERDOS SINGER, ESQ.
65197 WIESBADEN                     PITTSBURGH, PA 15251-6111            1740 BROADWAY
GERMANY                                                                  NEW YORK, NY 10019


ALTHEA DOTZOUR PHOTOGRAPHY          CANON FINANCIAL SOLUTIONS            DEBRA SCHUG
1004 SIOUX TRAIL                    14904 COLLECTIONS CENTER DRIVE       5520 W. DAKIN
MONONA, WI 53716-2536               CHICAGO, IL 60693-0149               CHICAGO, IL 60641




AMAZON SERVICES                     CANON SOLUTIONS AMERICA INC.         DESIGN-ER LLC
                                    15004 COLLECTIONS CENTER DRIVE       276 SCHULTE LANE
                                    CHICAGO, IL 60693                    SANTA BARBARA, CA 93105




AMERICAN AUDIO VIDEO                CAPITAL AIR SYSTEMS                  DOCUSIGN
8005 HAUTE COURT                    3444 CAPITOL DRIVE                   221 MAIN STREET
SPRINGFIELD, VA 22150-2228          PO 670                               SUITE 1000
                                    SUN PRAIRIE, WI 53590                SAN FRANCISCO, CA 94105


AMERICAN EXPRESS                    CHARTER COMMUNICATIONS               DOLLY STOLZE
PO BOX 1270                         PO BOX 3019                          1930 MANHATTAN BEACH BLVD
NEWARK, NJ 07101-1270               MILWAUKEE, WI 53201-3019             #102
                                                                         REDONDO BEACH, CA 90278


APIHUB, INC.                        CLEARVOICE, INC.                     FREE TRADE MAGAZINES.COM
548 MARKET ST #95879                515 E. GRANT STREET                  1 INTERNATIONAL BOULEVARD
SAN FRANCISCO, CA 94104-5401        SUITE 150                            SUITE 1200
                                    PHOENIX, AZ 85003-2633               MAHWAH, NJ 07495-0031
FREEMAN COMPANIES Case 19-11360-BLS    Doc 1 Filed 06/18/19
                                IDIO INC.                     Page 10 of MCCOY
                                                                   LISA  12
PO BOX 650036                   214 WEST 39TH STREET               2895 MCMICHAEL ROAD
DALLAS, TX 75265-0036           NEW YORK, NY 10018                 ALANSON, MI 49706




FRY COMMUNICATIONS INC.          INFOGROUP                         MAJEED AHMAD KAMRAN
800 WEST CHURCH ROAD             PO BOX 3243                       321-B VALANCIA TOWN
MECHANICSBURG, PA 17055          OMAHA, NE 68103-0395              LAHORE
                                                                   PAKISTAN


GLOBAL EXPERIENCE SPECIALISTS    INSIGHT                           MARCUS PLANTENBURG
BANK OF AMERICA                  PO BOX 731069                     ANDREAS KASPERBAUER
PO BOX 96174                     DALLAS, TX 75373-1069             STRABE 34 D-85540 HAA
CHICAGO, IL 60693


GREEN SKY CREATIVE LLC           INTERNAL REVENUE SERVICE          MARIA LAURA
607 SHELBY #500                  CENTRALIZED INSOLVENCY OPER.      GUERRA DEEGUI
DETROIT, MI 48226                PO BOX 7346                       100 CONGRESS ST, APT. 205
                                 PHILADELPHIA, PA 19101-7346       BROOKLYN, NY 11201


HIGBEE & ASSOCIATES              IRON MOUNTAIN                     MARITIM PROARTE
CLIENT TRUST ACCOUNT             PO BOX 27128                      HOTEL BERLIN
1504 BROOKHOLLOW DRIVE           NEW YORK, NY 10087-7128           FRIEDRICHSTRAßE 151
SUITE 112                                                          10117 BERLIN
SANTA ANA, CA 92705                                                GERMANY

HIRERIGHT LLC                    JENNIFER MILES                    MASSILLON PLAQUE COMPANY
PO BOX 847891                    3132 WILMINGTON ROAD              5757 MAYFAIR ROAD
DALLAS, TX 75284-7891            SUITE 4                           NORTH CANTON, OH 44720
                                 NEW CASTLE, PA 16105


HUBSPOT INC.                     JOHN KOON                         MAUREEN MUSHINSKY
25 FIRST STREET                  4243 STURGEON COURT               W3375 MCDONALD ROAD
2ND FLOOR                        SAN DIEGO, CA 72130-2146          LAKE GENEVA, WI 53147
CAMBRIDGE, MA 02141


HYATT REGENCY AUSTIN             JOHN PAUL PICKERING               MERCURY MAGAZINES
208 BARTON SPRINGS RD.           4021 E. GLENCOVE STREET           5 HIGH RIDGE PARK
AUSTIN, TX 78704                 MESA, AZ 85205                    STAMFORD, CT 06905




HYATT REGENCY ORLANDO            JOYCE LAIRD                       MICHELLE TAYLOR
LOCKBOX 848148                   13207 WENTWORTH STREET            6 E. MAYER DRIVE
DALLAS, TX 75284                 ARLETA, CA 91331                  MONTEBELLO, NY 10901-3402




ICIMS, INC.                      KEYSTONE COLLECTIONS              NATIONAL NEWS * INFORMATION
29348 NETWORK PLACE              GROUP                              SERVICES LLC
CHICAGO, IL 60673-1294           PO BOX 506                        41521 N. CHASE OAKS WAY
                                 IRWIN, PA 15642                   ANTHEM, AZ 85086-1184
NETLINE CORPORATION Case 19-11360-BLS
                                  ROCK80Doc
                                          NJ 1HOLDINGS
                                                Filed 06/18/19
                                                        LLC    Page 11 of 12CAPITAL BANK, N.A.
                                                                    TEXAS
DEPT LA 24024                     C/O LINCOLN PROPERTY COMPANY      C/O ERIC J. TAUBE, ESQ.
PASADENA, CA 91185-4024           9 ENTIN ROAD, SUITE 103           WALLER LANSDEN DORTCH
                                  PARSIPPANY, NJ 07054              100 CONGRESS AVE., STE. 1800
                                                                    AUSTIN, TX 78701

NEW ORLEANS MARRIOTT              SALESFORCE.COM                    THE MAGAZINE PRODUCTION CO
555 CANAL STREET                  PO BOX 203141                     ADUR BUSINESS CENTER
NEW ORLEANS, LA 70130-2349        DALLAS, TX 75320-3141             LITTLE HIGH STREET
                                                                    SHOREHAM-BY-SEA
                                                                    WEST SUSSEX BN43 5EG, UK

NORMAN JOHNSON PHOTOGRAPHY        SALESIFY INC.                     THE SIMON GROUP
4310 PASEO DEL NORTE NE           DEPT #33984                       1506 OLD BETHLEMHEM PIKE
SUITE 8                           PO BOX 39000                      SELLERSVILLE, PA 18960
ALBUQUERQUE, NM 87113             SAN FRANCISCO, CA 94139


NWP ACQUISITION LLC               SINTEC MEDIA                      TIMOTHY STUDT
C/O FARBMAN GROUP                 BOX 200663                        3648 STERLING ROAD
28400 NORTHWESTERN HWY            PITTSBURGH, PA 15251-2662         DOWNERS GROVE, IL 60515
4TH FLOOR
SOUTHFIELD, MI 48034

OFFICE DEPOT                      SJ MARKETING INC.                 TOTAL WATER TREATMENT SYSIN
PO BOX 633211                     PO BOX 546                        5002 WORLD DAIRY DRIVE
CINCINNATI, OH 45263-3211         OLD BETHPAGE, NY 11804-0546       MADISON, WI 53718




OWNER RESOURCE GROUP              SNP TECHNOLOGIES INC.             UPS
221 W. 6TH STREET                 2319 WHITNEY AVENUE               PO BOX 7247-0244
SUITE 2000                        SUITE 3C                          PHILADELPHIA, PA 19170
AUSTIN, TX 78701                  HAMDEN, CT 06518


PATHOLOGY EXPERT, INC.            SOHM PHOTOGRAFX                   VERIZON
3739 BALBOA STREET                PO BOX 861                        PO BOX 4833
#102                              SKAGWAY, AK 99840                 TRENTON, NJ 08650-4833
SAN FRANCISCO, CA 94121


PLAN B MARKETING LLC              STAFF IT INC.                     VISIT ORLANDO
PO BOX 2083                       1460 BROADWAY                     6277 SEA HARBOR DRIVE
APOPKA, FL 32704                  FRONT 5                           SUITE 400
                                  NEW YORK, NY 10036                ORLANDO, FL 32821-8043


PNC ERIEVIEW CAPITAL              TALKPOINT HOLDINGS LLC            WILLIAM O. MAKELY
C/O DOUGLAS MUNDELL, ESQ.         PO BOX 740209                     4730 MAIN STREET
AND LAURA LONG, ESQ.              DEPT #4037                        DOWNERS GROVE, IL 60515
LEGAL DEPT., 300 FIFTH AVENUE     ATLANTA, GA 30374-0209
PITTSBURGH, PA 15222

PR NEWSWIRE ASSOCIATION LLC       TECHCXO LLC                       WORKCAST INC.
PO BOX 5897                       1911 GRAYSON HWY                  600 1ST AVE
NEW YORK, NY 10087-5897           SUITE 8/122                       SUITE 541-543
                                  GRAYSON, GA 30017                 SEATTLE, WA 98104
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                                                               United States Bankruptcy Court
                                                                        District of Delaware
 In re      Advantage Business Media, LLC                                                               Case No.
                                                                                 Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Advantage Business Media, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 ORG ABM Holdings, Inc.
 600 Congress Avenue
 Suite 200
 Austin, TX 78701




 None [Check if applicable]




 June 17, 2019                                                       /s/ Shannon D. Humiston
 Date                                                                Shannon D. Humiston (No. 5740)
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Advantage Business Media, LLC
                                                                     McCarter & English, LLP
                                                                     405 N. King Street, 8th Floor
                                                                     Renaissance Centre
                                                                     Wilmington, DE 19801
                                                                     302-984-6300 Fax:302-984-6399
                                                                     shumiston@mccarter.com




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